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                     UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                         DEC 16 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
EDWARD ALLYN HUDACKO,                            No. 24-5654
                                                 D.C. No.
              Plaintiff - Appellant,             3:23-cv-05316-SI
 v.                                              Northern District of California,
                                                 San Francisco
REGENTS OF THE UNIVERSITY OF
CALIFORNIA; et al.,                              MANDATE

              Defendants - Appellees,

and

CHRISTINE UNDERHILL,

              Defendant.

        The judgment of this Court, entered November 22, 2024, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to

Rule 41(a) of the Federal Rules of Appellate Procedure.



                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT
